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                                                                                September 21, 2023


BY ECF

The Honorable Alvin K. Hellerstein
United States District Court
Southern District of New York
United States Court House
500 Pearl Street
New York, Ny 10007

           Re:      United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

       The Defendants respectfully submit this joint letter on behalf of the parties, as directed by
the Court, in advance of the September 26, 2023 conference.

The Government’s Position

       The Government writes to (a) provide an update on the status of the response of J.P.
Morgan Chase (“JPMC”) to the Government’s grand jury subpoenas, and (b) raise an issue related
to any advice-of-counsel defense offered by defendants and the resolution of privilege issues.
These issues are addressed below. 1

       A. JPMC Subpoena Response Update

      At the August 23, 2023 conference, the Court set a deadline of October 13, 2023, for
completion of JPMC’s response to the Government’s subpoenas. The Court also directed JPMC

1
  Shortly before 5 p.m. today, the Government received the defendants’ proposed draft of a joint
letter, revising the draft that the Government provided to the defendants at 1:15 p.m. and raising
an entirely new issue, related to the JPMC custodian list. In multiple meet and confers between
the parties, including as recently as last night, the Government asked the defendants what issues
they intended to raise in the joint letter and at the forthcoming conference, and the defendants
never indicated that they would be raising the custodian issue. The Government will therefore
respond to that new issue in a separate letter tomorrow.
                      AMERICAS (NEW YORK, DELAWARE, MIAMI, SAN FRANCISCO, SÃO PAULO, WASHINGTON DC)
          APAC (HONG KONG, SEOUL, SHANGHAI), CARIBBEAN (BVI, CAYMAN ISLANDS), EMEA (CYPRUS, DUBAI, LONDON, TEL AVIV)

                        KOBRE & KIM REFERS TO KOBRE & KIM LLP, A NEW YORK LIMITED LIABILITY PARTNERSHIP.
Honorable Judge Alvin K. Hellerstein
September 21, 2023
Page 2

to provide privilege logs on a rolling basis, every two-to-three weeks. Following the August 23,
2023 conference, the Government conveyed the Court’s directives to counsel for JPMC and
provided a copy of the transcript.

        Based on subsequent conferrals with counsel for JPMC, the Government understands that
JPMC expects to meet the Court’s October 13 deadline and complete its subpoena response by the
that date. For clarity, JPMC also expects to complete and produce its remaining privilege logs by
the October 13 deadline as well.

         The Government understands JPMC has been working expeditiously to complete its
response to the subpoenas and its privilege review. Since the August 23 conference, JPMC has
produced tens of thousands of records for which no claim of partial or full privilege is being made,
and estimates that it will produce up to, or more than, an additional 100,000 documents to complete
its response. Since the August 23 conference, JPMC has provided privilege logs on a rolling basis
as directed by the Court. Specifically, JPMC has provided three privilege logs and associated
productions, comprising approximately 7,527 documents that are either being redacted or withheld
in full based on privilege.

       The Government’s third-party electronic database vendor is processing many of these
productions from JPMC to the Government so that they can in turn be produced by the Government
to JPMC. The Government has been coordinating with that vendor in an effort to expedite and
streamline the turnaround time for such productions, with a goal of having the entirety of JPMC’s
productions sent to the defense by the time of the October 24, 2023 conference.

       B. Privilege Issues

               The Government does not expect to raise any challenges to JPMC’s claims of
privilege to date at the September 26 conference. Nevertheless, the Government notes an issue
that may be relevant to the Court’s ultimate rulings regarding privilege and attorney advice—
namely, whether either defendant will seek to offer an advice-of-counsel defense.

        To pursue such a defense, a defendant typically impliedly waives the privilege. United
States v. Bilzerian, 926 F.2d 1285, 1292 (2d Cir. 1991). Pretrial notice is therefore necessary to
conduct discovery into potentially privileged areas. Further complicating and necessitating early
resolution, where the attorney-client privilege is likely controlled by a corporation, the Court may
need to resolve whether the defendant can rely on evidence that is protected by a company’s
privilege. See United States v. Milton, 626 F. Supp. 3d 694, 702-03 (S.D.N.Y. 2022) (denying the
defendant’s constitutional claim that “privileged communications become discoverable simply
because a defendant wishes to use those communications in his defense”). The Government
therefore seeks to alert the Court of this potential issue which may be relevant to the defendants’
privilege challenges and the Court’s resolution of those challenges.

        On September 6, 2023, the Government sent a written request to defense counsel seeking
prompt notice of either defendant’s intention to pursue an advice of counsel defense and to provide
the details and bases of such a defense. On September 7, 2023, defense counsel for Javice declined
Honorable Judge Alvin K. Hellerstein
September 21, 2023
Page 3

to provide such notice and declined to provide a date for such notice while there remained
outstanding productions from JPMC.

       As the Court considers the schedule for resolution of any privilege disputes, the
Government respectfully submits that the Court should also set a deadline by which the defendants
must inform the Government of their intention to pursue such a defense.

The Defendants’ Position

    As directed by the Court at the status conference held on August 23, 2023 (the “August 23
Conference”), the Defendants write to update the Court on: (1) the status of document productions
by JPMC; (2) the status of JPMC’s rolling privilege logs and Defendant’s review of same; and (3)
two issues on which the Government and Defendants are at an impasse. The Government and
Defendants will come prepared to discuss the below at the September 26, 2023 status conference.

       A. Status of JPMC Document Productions

        At the August 23 Conference, the Court ordered JPMC to produce privilege logs on a
rolling basis. The Court ordered the Parties to confer during the weeks of September 4 and
September 18 to narrow the outstanding privilege issues ahead of the September 26 status
conference. Aug. 23, 2023 Hr’g Tr. (“Aug. 23 Tr.”) 19:21-24. The parties have conferred on three
separate occasions. Based on the Government’s representations during the conferrals, Defendants
understand that the Government has not yet produced all privilege logs in the case, and Defendants
anticipate receiving several more privilege logs (together, containing anywhere from ten to twenty
thousand entries) and many more redacted documents (potentially in the thousands or tens of
thousands).

       The Government has thus far produced four privilege logs from JPMC listing 7,527
redacted or withheld documents, as detailed below.

       Log 1 – produced to Defendants on August 23, 2023

           •   84 documents (9 withheld, 72 redacted)

       Log 2 – produced to Defendants on September 11, 2023

           •   3,674 documents (all withheld)

       Log 3 – produced to Defendants on September 18, 2023

           •   2,263 documents (4 withheld, 2,259 redacted). The 2,259 redacted documents on
               this log have not been produced to Defendants.

       Log 4 – produced to Defendants on September 20, 2023

           •   1,506 documents (1,416 withheld, 90 redacted)
Honorable Judge Alvin K. Hellerstein
September 21, 2023
Page 4

         The Government produced Logs 3 and 4, which include a substantial majority of the
entries, only within the past three days. As such, Defendants have not had an opportunity to
meaningfully review or challenge the entries on those logs. Moreover, because Defendants have
received fewer than 100 of the nearly 2,500 redacted documents that correspond to the entries on
Logs 1 and 3, we are not able to meaningfully discuss those redactions. Notwithstanding those
limitations, on September 19, 2023, with consent of the Government, Defendants emailed their
initial set of objections to Privilege Logs 1 and 2 directly to JPMC. Defendants’ challenges relate
to 476 documents, most of which are documents withheld in their entirety. Defendants have not
yet received a response from JPMC.

       B. Custodian List2

        At the August 23 Conference, the Court ordered Defendants to provide the Government
with a list “of those potential custodians of Chase who should be asked to search their files.” See
Aug. 23 Tr. 17:11–14; see id. (ordering “by . . . September 1, all identifications by defendants of
those potential custodians of Chase who should be asked to search their files will be given to the
government”). Defense counsel confirmed on the record “the Court’s directive [that] we will
provide, by the end of next week, a list of custodians which we assume, based on the Court’s
comments today, [they] will add to the custodian list of the government’s and JP Morgan’s and at
that time, if there is any issue, we will bring it to the Court’s attention. But so long as they’re
going to eventually comply with this very old subpoena and search the relevant parties’ names,
that’s going to be sufficient for the defense at this stage.” Id. at 17:1–9. The Court’s directive
followed Defendants’ repeated request for internal communications among key bank personnel,
many of whom were not named in the custodian list JPMC provided to the Government.

        Defendants complied with the Court’s directive and sent a letter with their supplemental
custodian list (“Defendants’ Custodian List”)—along with clarifying questions about JPMC’s
custodian list—to the Government on September 1, 2023. Defendants’ Custodian List identified
the individuals who Defendants believe in good faith are likely to possess information material to




2
  Defendants disagree in numerous respects with the Government’s recitation of the facts in
footnote 1. The Parties discussed the substance of this submission only once: on the evening of
September 20. Defendants never committed to limiting their portion of the submission to specific
issues.

Further, the custodian issue raised herein is not “entirely new.” The Government refused to engage
with Defendants about custodians on the September 7 meet and confer, despite Defendants’ good
faith efforts to come to an agreement or, at the very least, narrow the scope of the parties’
disagreement. Instead, the Government invited Defendants to seek relief from the Court. The
Government’s suggestion that it had insufficient time to respond to this issue is simply wrong.
Nevertheless, Defendants reserve the right to respond to any other submission the Government
might file on this or any other matter.
Honorable Judge Alvin K. Hellerstein
September 21, 2023
Page 5

the defense. Defendants also understand that JPMC has collected but not searched many of these
individuals’ electronically stored documents and/or email inboxes.

        Despite the Court’s instruction, the Government has refused to confer with Defendants
about the custodians or engage further about Defendants’ supplemental custodian list at all. As
Defendants previously advised the Court, JPMC’s document production appears to omit highly
relevant custodians including merger decision-makers, JPMC executives involved in diligence and
the data requests at the core of the Government’s case, and even JPMC personnel identified in the
Government’s own complaint. The Government has indicated it will not engage on this topic
absent a further order from this Court. As a result, the parties have made no progress on this issue
and remain in the exact same position as they were at the last conference. Accordingly, they require
the Court’s further relief to move this forward.

       C. Advice of Counsel Defense

        On September 6, 2023, the Government requested by letter that the Defendants disclose
whether they plan to rely on an advice of counsel defense at trial. Defendants informed the
Government that its request that Defendants immediately determine and disclose whether they will
rely on any particular defense before discovery has been completed, prior to resolution of privilege
disputes, before motion practice has even begun, and well before a trial date is set, is premature,
and that Defendants are not in any position to determine and disclose this without having yet
received a substantial portion of Rule 16 discovery or addressed pending privilege issues. Among
other things, JPMC has withheld as privileged communications involving the Defendants
themselves in which they communicated with attorneys both prior to and after the JPMC
acquisition. Defendants currently do not have access to those materials and thus cannot evaluate
the viability of the advice of counsel defense or the potential scope of any subject-matter waiver
resulting from the assertion of such a defense.

        The Government is not entitled to have notice of defenses now. See United States v. Ray,
No. 20-CR-110 (LJL), 2021 WL 5493839, at *5, *7 (S.D.N.Y. Nov. 22, 2021) (determining that
the Defendant need not inform the government of its intention to assert an advice of counsel
defense prior to the close of the government’s case in chief); cf. Fed. R. Cr. P. 12 (addressing
certain notices that defense must provide prior to trial but not requiring notice of advice of counsel
defense).

        During conferrals with the Government, the Government indicated that they plan to raise
this issue with Your Honor at the forthcoming conference.
Honorable Judge Alvin K. Hellerstein
September 21, 2023
Page 6


 Respectfully submitted,

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